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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   LINDA HARTER, Bar #179741
     Designated Counsel for Service
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone (916) 498-5700
 5   Attorney for Defendant
     PATRICK STRATMAN
 6
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,      )     No. CR-S-06-505 EJG
                                    )
12                  Plaintiff,      )
                                    )     AMENDED STIPULATION AND ORDER
13       v.                         )     CONTINUING STATUS CONFERENCE
                                    )     AND EXCLUDING TIME
14   PATRICK STRATMAN, et al.,      )
                                    )     DATE: November 30,2007
15                  Defendants.     )     TIME: 10:00 a.m.
                                    )     JUDGE: Edward J. Garcia
16                                  )
17
18       IT IS HEREBY STIPULATED by and between the parties hereto through
19   their respective counsel, ELLEN ENDRIZZI, Assistant United States
20   Attorney, attorney for Plaintiff, LINDA HARTER, Chief Assistant Federal
21   Defender, attorney for defendant, and GEOFFREY GOODMAN, attorney for
22   co-defendant, JOSEPH BREWER, that the current Status Conference date of
23   November 16, 2007 be vacated, and a new Status Conference date of
24   November 30, 2007 at 10:00 a.m. be set.
25       This continuance is requested to allow defense counsel additional
26   time to prepare, to review discovery, to conduct ongoing investigation,
27   to interview witnesses, and to continue discussions with defendants.
28       It is further stipulated and agreed between the parties that the
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 1   period beginning November 16, 2007 through and including November 30,
 2   2007 should be excluded in computing the time within which the trial of
 3   the above criminal prosecution must commence for purposes of the Speedy
 4   Trial Act for defense preparation.            All parties stipulate and agree
 5   that this is an appropriate exclusion of time within the meaning of
 6   Title 18, United States Code, Section 3161(h)(8)(B)(iv) (Local Code T4)
 7   and that the ends of justice to be served by a continuance outweigh the
 8   best interests of the public and the defendants in a speedy trial.
 9   Dated: November 15, 2007
10                                             Respectfully submitted,
11                                             DANIEL J. BRODERICK
                                               Federal Defender
12
                                               /s/ Linda Harter
13                                             LINDA HARTER
                                               Chief Assistant Federal Defender
14                                             Attorney for Defendant
                                               PATRICK STRATMAN
15
16   Dated:    November 15, 2007               /s/ Geoffrey Goodman
                                               Attorney for co-defendant
17                                             JOSEPH BREWER
18
     Dated: November 15, 2007
19                                             MCGREGOR W. SCOTT
                                               United States Attorney
20
                                               /s/ Linda Harter for
21                                             ELLEN ENDRIZZI
                                               Assistant U.S. Attorney
22
23                                           ORDER
24           Based on the parties' stipulation and good cause appearing
25   therefrom, the Court hereby adopts the stipulation of the parties in
26   its entirety as its order.        The Court specifically finds that the ends
27   / / /
28   / / /


     Stipulation & Order                       2
             Case 2:06-cr-00505-EJG Document 37 Filed 11/19/07 Page 3 of 3


 1   of justice served by the granting of such continuance outweigh the
 2   interests of the public and the defendants in a speedy trial.
 3   IT IS SO ORDERED.
 4
 5   DATED: November 15, 2007                 /s/ Edward J. Garcia
                                              EDWARD J. GARCIA
 6                                            United States District Court
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     Stipulation & Order                      3
